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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     BRENT OSTER, et al.,                               Case No. 21-cv-05400-EMC
                                   8                    Plaintiffs,
                                                                                            JUDGMENT
                                   9             v.

                                  10     MORENO FAMILY LAW FIRM, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          On October 15, 2021, the Court issued its Order Adopting Report and Recommendation to

                                  15   Dismiss Complaint. Pursuant to Federal Rule of Civil Procedure 58, the Court hereby ENTERS

                                  16   judgment against Plaintiff. The Clerk of Court shall close the file in this matter.

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                                  18          IT IS SO ORDERED.

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                                  20   Dated: October 15, 2021

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                                                                                         EDWARD M. CHEN
                                  23                                                     United States District Judge
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